        2:17-cr-20037-JES-JEH # 87       Page 1 of 12                                         E-FILED
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                                                                          Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )        Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )        Hearing Requested
                                          )
       Defendant.                         )

      DEFENDANT’S REPLY TO UNITED STATES RESPONSE TO MOTION TO
                         COMPEL DISCOVERY

NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

Attorneys, and for his Reply to the Government’s Response to the Motion to Compel

Discovery states as follows:

I.     THE REQUEST FOR DISCLOSURE OF COMMUNICATIONS BETWEEN
       THE WHITE HOUSE AND THE DEPARTMENT OF JUSTICE

       “There were no such communications.” Five words, twenty-five letters. If that

were the case, that is all it would have taken to dispose of the defense’s request –

preceded perhaps by a few brief inquiries at the Department of Justice to ascertain the

existence of any such information.

       Instead, the government constructs several non-meritorious procedural

roadblocks. In the world beyond those barricades, the Response suggests that the

constitutional restraints on the government in the capital authorization process exist

only to the extent the government chooses to be bound by them. In the world imagined

by the Response, beyond those impenetrable barricades a President could order the


                                              1 
         2:17-cr-20037-JES-JEH # 87       Page 2 of 12



Attorney General to seek the death penalty against all African-American defendants or

all Asians or any other constitutionally-protected group if he so chooses and that

information could legitimately remain interred in the vaults of the Department of

Justice. Or, behind those barricades the President could direct the Attorney General to

seek the death penalty based on impermissible political considerations that would

offend the non-arbitrariness and narrowing requirements of the Eighth Amendment.

         A.    The Government’s Argument that Mr. Christensen’s Request Is Based on
               Mere Speculation and Requires the Government to Engage in a “Fishing
               Expedition”

         The government contends that the defendant’s allegations are grounded in

unsupported speculation, Response, at 7-8, and that compliance would require the

government “to engage in a fishing expedition.” Id., at 8.

         As to the latter, the suggestion is that compliance would be an arduous task

requiring investment of significant time and resources. But, the government does not

explain why this is so. Mr. Christensen’s request does not, for example, present a

situation such as that in United States v. Armstrong, 517 U.S. 456 (1996), where

compliance with the defendant’s request (and the Court’s order) would have required

the government to comb its files for data relating to all prosecutions of cocaine offenses

in the preceding three years and provide an analysis of the reasons for prosecuting each

case.1


                                                       
1In Armstrong, the court ordered the government: (1) to provide a list of all cases from

the preceding three years in which the Government charged both cocaine and firearms
offenses; (2) to identify the race of the defendants in those cases; (3) to identify what
levels of law enforcement were involved in the investigations of those cases; and (4) to


                                             2 
       2:17-cr-20037-JES-JEH # 87        Page 3 of 12



       Here, Mr. Christensen’s request is narrowly tailored to his own case and does not

presently require the government to explain its prosecutorial decisions or internal

deliberations. The request seeks only a very discrete piece of information – that is

whether the White House communicated with the Department of Justice concerning

this case and the date and substance of such communications.2 This information is

readily available to the United States Attorney’s Office and also easily obtainable by

trial counsel from the Capital Case Section at the Department of Justice, assigned to this

case. The government’s “see no evil, hear no evil” approach, Response, at 3 (the U.S.

Attorneys advised defense they would not “search” for this information outside their

own files, knowing such information would not be found in local files), cannot be

explained by its overblown assertion that it would be required to engage in a lengthy

and cumbersome “fishing expedition.”

       Nor is Mr. Christensen’s request as speculative as the government suggests. The

timing of the meeting of Presidents Trump and Xi in early November 2017, coupled

with the intense interest in this case in China, the Presidents’ apparent willingness to

discuss criminal cases of interest to each country and their liberal attitudes toward the


                                                       
explain its criteria for deciding to prosecute those defendants for federal cocaine
offenses. Id., at 459.

2The Motion to Compel, at 11, asks the Court to order the government to disclose the
“date, form and substance of any communication between the White House and the
Department of Justice” and, if there were such communications, the substance of related
communications between President Trump and President Xi. Upon further reflection,
the latter issue need not be addressed at this time, as the relevance of the latter would
depend on the substance of the former.



                                             3 
       2:17-cr-20037-JES-JEH # 87         Page 4 of 12



use of capital punishment, in toto, elevate Mr. Christensen’s request beyond that of mere

speculation. And, these factors must be assessed in the context of the Department of

Justice’s unusual expedition of the authorization process and refusal to consider defense

requests in late November 2017, for additional time to conduct a basic mitigation

investigation prior to the authorization decision, even though the capital indictment

had only been returned a few weeks earlier on October 16, 2017, and the average time

between return of a capital indictment and authorization to seek the death penalty is

approximately 13.2 months. See Defendant’s Memorandum in Support of Proposed

Scheduling Order, Dkt. 59, at 9-12; Motion to Continue, Dkt. 29, at 5 & Exhibit A.

       Finally, as noted in the Introduction, the Court should consider the fact that

despite the ease of denial concerning facts that are within its exclusive knowledge,3 the

government has not done so. While the defense does not suggest that this, standing

alone, supports an adverse inference as to the underlying claim, the failure to deny that

there were any direct communications between the White House and the Department of

Justice lends additional weight to Mr. Christensen’s request, suggests the request is not



                                                       
3 See United States v. Losing, 539 F.2d 1174, 1180 (8th Cir. 1976)(although defendant’s

allegation concerning failure to comply with minimization requirement in wiretap case
was too general, evidentiary hearing required to permit defendant opportunity develop
claim where government had not disclosed information in its exclusive possession
which would have permitted defendant to make more specific allegation.); Giles v. State
of Md., 386 U.S. 66, 101–02 (1967) (J. Fortas, concurring)(“My point relates, not to the
defendant's discovery of the prosecution's case for purposes of preparation or
avoidance of surprise, which is dealt with in Rule 16, but with the State's constitutional
duty, as I see it, voluntarily to disclose material in its exclusive possession which is
exonerative or helpful to the defense—which the State will not affirmatively use to prove
guilt—and which it should not conceal”)(emphasis added).


                                             4 
       2:17-cr-20037-JES-JEH # 87         Page 5 of 12



mere baseless speculation and satisfies the threshold showing of “some evidence”

supporting discovery of the information. Cf. Armstrong, 517 U.S. at 468 (distilling from

various formulations of the Court of Appeals a “consensus” that defendant must cite

“some evidence” of his claim to obtain discovery).

       B.     The Government’s Claim of Unfettered and Non-Reviewable Discretion of
              the Attorney General

       The government emphasizes the Attorney’s General’s “broad discretion” in

determining whether the government will seek a sentence of death, Response, at 5-6,

going so far as to label this discretion “unreviewable.” Id., at 10. Mr. Christensen does

not take issue with the claimed discretion but rejects its unstated premise that the

Attorney General has such an exalted position in our constitutional structure that the

judiciary cannot inquire upon suggestion that such discretion has been abused or

exercised in a manner inconsistent with the Constitution.4 This is simply not so.

Of course, a prosecutor's discretion is “subject to constitutional constraints.” United

States v. Batchelder, 442 U.S. 114, 125, 99 S.Ct. 2198, 2204–2205, 60 L.Ed.2d 755 (1979).

One of these constraints, imposed by the equal protection component of the Due


                                                       
4 The government cites this Circuit’s decisions in United States v. Scott, 631 F.3d 401, 406-

07 (7th Cir. 2011) and United States v. Ribotta, 792 F.3d 837, 840 (7th Cir. 2015), as
supporting its claim that “prosecutorial discretion is shielded from judicial review.”
Rseponse, at 6. But, neither case travels as far as the government wants. Scott merely held
that a prosecutor’s decision not to prosecute a co-conspirator was not a proper
sentencing consideration under 18 U.S.C. § 3553(a), while Ribotta involved a claim of
prosecutorial vindictiveness when the prosecutor filed new charges after the
defendant’s successful motion to suppress. Neither stands for the broad proposition
that there are no judicial checks when the government seeks the death penalty for
constitutionally unacceptable reasons.



                                              5 
       2:17-cr-20037-JES-JEH # 87          Page 6 of 12



Process Clause of the Fifth Amendment, Bolling v. Sharpe, 347 U.S. 497, 500, 74 S.Ct. 693,

694–695, 98 L.Ed. 884 (1954), is that the decision whether to prosecute may not be based

on “an unjustifiable standard such as race, religion, or other arbitrary

classification,” Oyler v. Boles, 368 U.S. 448, 456, 82 S.Ct. 501, 506, 7 L.Ed.2d 446 (1962).

United States v. Armstrong, 517 U.S. 456, 464–65 (1996).

       Mr. Christensen’s request implicates two constitutional protections. First, both

the Fourteenth and the Eighth Amendments preclude the arbitrary exercise of that

discretion based on considerations of national origin. See Motion to Compel Discovery,

Dkt 82, at 9; United States v. Berrios, 501 F.2d 1207, 1209 (2d Cir. 1974) (“Nothing can

corrode respect for a rule of law more than the knowledge that the government looks

beyond the law itself to arbitrary considerations, such as race, religion, or control over

the defendant's exercise of his constitutional rights, as the basis for determining its

applicability.”). Second, the Eighth Amendment’s narrowing requirement in capital

cases constrains the Attorney General’s discretion. See Lowenfeld v. Phelps, 484 U.S. 231,

244 (1988) (“To pass constitutional muster, a capital sentencing scheme must ‘genuinely

narrow the class of persons eligible for the death penalty and must reasonably justify

the imposition of a more severe sentence on the defendant compared to others found

guilty of murder,’ “quoting Zant v. Stephens, 462 U.S. 862, 877, 103 S.Ct. 2733, 77 L.Ed.2d

235 (1983)). Consideration of extraneous political factors is an arbitrary exercise of

discretion that does not comply with this narrowing requirement. Cf. 18 U.S.C.




                                               6 
       2:17-cr-20037-JES-JEH # 87          Page 7 of 12



3592(c)(statutory aggravating factors performing narrowing function all relate to

circumstances of offense or prior criminal conduct of the defendant).5

       The government’s view that the exercise of its discretion is an unassailable

bulwark that cannot be pierced and that prosecutorial discretion controls over

constitutional substance is inconsistent with the Supreme Court’s decision in Batson v.

Kentucky, 476 U.S. 79 (1986), which requires the prosecution to explain its reason for

exercising peremptory challenges in certain circumstances. In so holding, the Court

rejected the prosecution’s reliance on the long-standing practice of “unfettered

discretion” in exercising such challenges as well as its contention that maintaining such

unconstrained discretion was of “vital importance.” Id., at 99. The Court also held that

conclusory self-serving assertions by the prosecution, such as that proffered here,6 are

insufficient. Batson, 476 U.S. at 94, 98 (“mere general assertions that its officials did not

discriminate or that “they properly performed their official duties” is insufficient).


                                                       
  5 N. 7 of the Response attempts to recast Mr. Christensen’s argument in two ways.

First, Mr. Christensen does not suggest that is would necessarily have been
“impermissible” per se for the Attorney General to have “discussed” this case with the
President. But, if the President communicated a desire that the Attorney General - his
subordinate - seek the death penalty or that he or his staff had assured Chinese
authorities that they would do so during the November summit where the United
States hoped to obtain the cooperation and agreement on matters such as North Korea,
trade and other economic matters of significant interest to the United States, that
presents a different issue. And, Mr. Christensen is not asserting a claim of prosecutorial
vindictiveness or some improper “punitive motivation.” Rather, the claim is improper
political motivation animating the decisions to seek the death penalty. Second, while Mr.
Christensen referenced the United States Attorney’s Manual in his Motion to Compel, at
9, as illustrative of the principle of arbitrariness, he did not suggest there, no does he
here, that his request is based on the enforceability of the Manual itself.
6 E.g. see Response, at 5 (citing a so-called “presumption of regularity”).




                                               7 
       2:17-cr-20037-JES-JEH # 87         Page 8 of 12



       C. Authority for Mr. Christensen’s Request

       The government argues that Mr. Christensen has “cited no authority that would

entitle him to receive the information he has requested.” Response, at 8. But, it has long

been accepted that “there is no right without a remedy to secure it.” Hawkins v. Barney’s

Lessee, 30 U.S. 457, 463 (1831). The right to receive information in the government’s

exclusive possession that would demonstrate the violation of a constitutional protection

inheres in that protection itself. Referring back to the introduction, supra, surely, the

government wouldn’t argue, for instance, that it could bury in its files, and thereby

conceal from the defendant, the Court and the public, a Presidential order to seek the

death penalty against all African-American or all Muslim defendants for capital-eligible

offenses on the theory that this information “has nothing to do with any legitimate

defense.” See Response, at 10. That, however, is the logical import of its position.

       The government relies heavily on United States. v. Armstrong, supra, asserting that

Mr. Christensen must show that the requested information relates to such a “legitimate

defense”7 and, remarkably, goes so far as to assert that Armstrong would bar production

even if the information tends to demonstrate that constitutionally unacceptable factors

infected the authorization process. Response at 10-11. As stated in the preceding




                                                       
7  The government’s restricted view as to what constitutes a “legitimate defense” is also
inconsistent with the express holding in Brady v. Maryland, 373 U.S. 83, 87 (1963) (“We
now hold that the suppression by the prosecution of evidence favorable to an accused
upon request violates due process where the evidence is material either to guilt or to
punishment, irrespective of the good faith or bad faith of the prosecution.) (Emphasis
added). The authorization process is obviously material to punishment in a capital case.


                                              8 
       2:17-cr-20037-JES-JEH # 87         Page 9 of 12



paragraph, Mr. Christensen need not ground his claim in Rule 16, but in any event

Armstrong is distinguishable in several particulars.

       First, as explained above, Mr. Christensen raises an Eighth Amendment claim,

which unlike the selective prosecution claim in Armstrong does not require an in-depth

analysis of other cases over an extensive period of time – in fact, it does not require

examination of any other case, nor at this point an analysis of any type. It only requires

that easily accessible information be disclosed. See also Batson, 476 U.S. at 96 (noting that

court can more easily and accurately determine whether prosecution has engaged in

unconstitutional conduct in relation to case before it rather than having to also consider

conduct in other cases). Second, Armstrong held that the defendant had not made a

threshold showing of his selective prosecution claim. Here, the defense has satisfied

Armstrong’s “some evidence” standard. Supra. Third, contrary to the proposition

implicit throughout the government’s response, the passage quoted above

demonstrates that Armstrong was unequivocal that prosecutions based on race, religion

or national origin of either the defendant or the victim cannot be magically swept away

by incantations of “prosecutorial discretion.” Id., at 464-65; see also U.S. v. Feil, 2010 WL

3834978, *1 (N.D. California 2010) (“Had the Supreme Court been convinced that no

discovery could ever be taken in support of any defense to be raised by pretrial motion,

which is how the government appears to construe Armstrong, the Supreme Court's

lengthy discussion about the adequacy of the defendant's showing would have been

unnecessary because defendant would have been entitled to no discovery regardless of

the showing.”).


                                              9 
       2:17-cr-20037-JES-JEH # 87        Page 10 of 12



       D. Conclusion

      The Response suggests that Mr. Christensen can only present his claim to the Court

if he already has the information which he seeks. Where this information is within the

exclusive knowledge of the government, this “crippling burden,” Batson v. Kentucky, 476

U.S. at 92 (characterizing the prior burden placed on defendants in Swain v. Alabama

(citation omitted)), renders Mr. Christensen defenseless, the Constitution toothless and

this Court powerless to ensure its protections.

       In light of the above Mr. Christensen asks the Court to enter an Order requiring

the prosecutors to make appropriate and timely inquiry and production to the defense.8

       WHEREFORE, Defendant requests that the Court order the Government to

produce the evidence as requested in the Motion to Compel.




                                                       
8
   Alternatively, Mr. Christensen requests that the Court either (1) conduct a hearing and
issue a subpoena under Rule 17 (c), requiring the government to produce any records,
documents or information reflecting communications between the White House and the
Department of Justice in this case; or (2) issue an Order requiring the government to
produce any records, documents or information related to Mr. Christensen’s request for
in camera inspection by the Court. See United States v. Berrios, 501 F.2d 1207, 1212 (2d Cir.
1974) (Court has authority to conduct hearing and order government to produce
documents in its possession pursuant to Rule 17(c), even though not discoverable
pursuant to Rule 16).
 


                                             10 
    2:17-cr-20037-JES-JEH # 87   Page 11 of 12



                            Respectfully submitted,

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                                     11 
      2:17-cr-20037-JES-JEH # 87        Page 12 of 12



                              CERTIFICATE OF SERVICE

      I hereby certify that on August 3, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and

Trial Attorney James B. Nelson. A copy was also mailed to the defendant.

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                                           12 
